Case 8:17-cv-02166-AG-JDE Document 45 Filed 07/05/18 Page 1 of 2 Page ID #:286




  1 BRANDON S. REIF (State Bar No. 214706)
    breif@reiflawgroup.com
  2
    JUSTIN S. KIM (State Bar No. 234012)
  3 jkim@reiflawgroup.com
                                      NOTE: CHANGES MADE BY THE COURT
  4 REIF LAW GROUP, P.C.
    10250 Constellation Blvd., Suite 100
  5 Los Angeles, CA 90067
    Tel: (310) 494-6500
  6
  7 CAROLYN HOECKER LUEDTKE (State Bar No. 207976)
    carolyn.luedtke@mto.com
  8
    LAUREN C. BARNETT (State Bar No. 304301)
  9 lauren.barnett@mto.com
 10 MUNGER, TOLLES & OLSON, LLP
    560 Mission Street, 27th Floor
 11 San Francisco, CA 94105
    Tel: (415) 512-4027
 12
    Fax: (415) 512-4077
 13
    Attorneys for Defendant TEN-X, LLC
 14
 15                   UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 16
 17
      BRUCE FELT,                             Case No. 8:17-CV-02166-AG-JDE
 18
                 Plaintiff,                   ORDER GRANTING
 19
                                              STIPULATION TO EXTEND
 20        vs.                                TIME FOR DEFENDANT TEN-X,
                                              LLC TO ANSWER THE FIRST
 21
    TEN-X. LLC, fka AUCTION.COM,              AMENDED COMPLAINT
 22 LLC; PETER MUNDHEIM; AGHA S.
    KHAN; AND STONE POINT                     Judge: Hon. Andrew Guilford
 23
    CAPITAL, LLC,                             Crtrm.: 10D
 24
              Defendants.                     Current Response Date:
 25
                                              July 5, 2018
 26
                                              New Response Date:
 27
                                              August 10, 2018
 28

                        ORDER GRANTING STIPULATION TO EXTEND TIME FOR
                         TEN-X TO ANSWER THE FIRST AMENDED COMPLAINT
Case 8:17-cv-02166-AG-JDE Document 45 Filed 07/05/18 Page 2 of 2 Page ID #:287




  1        THE COURT having reviewed and considered the stipulation of the parties,
  2 and good cause appearing, rules as follows:
  3        Defendant Ten-X, LLC shall file its Answer to the First Amended Complaint
  4 no later than August 10, 2018.
  5        NO FURTHER CONTINUANES WILL BE GRANTED WITHOUT A
  6 FURTHER VERY STRONG SHOWING OF GOOD CAUSE.
  7
  8        SO ORDERED.
  9
      Dated: July 5, 2018
 10
                                      Honorable Andrew J. Guilford
 11                                   United States District Court Judge
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                                            Case No. 8:17-CV-02166-AG-JDE
                  [PROPOSED] ORDER GRANTING STIPULATION TO EXTEND TIME FOR
                        TEN-X TO ANSWER THE FIRST AMENDED COMPLAINT
